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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION


BRADLEY A. CHICOINE, D.C., DR. BRADLEY
A. CHICOINE, D.C., P.C., MARK A. NILES,
D.C, NILES CHIROPRACTIC, INC., ROD R.
REBARCAK, D.C., and BEN WINECOFF, D.C.,
on behalf of themselves and those like situ-
ated,
      Plaintiffs,
and                                                     No. 4:17-cv-00210
STEVEN A. MUELLER, D.C., BRADLEY J.
BROWN, D.C., BROWN CHIROPRACTIC,
P.C.; MARK A. KRUSE, D.C., DR. MARK A.
KRUSE, D.C., P.C., KEVIN D. MILLER, D.C.,
and LARRY E. PHIPPS, D.C., on behalf of
themselves and those like situated,
      Plaintiffs,
vs.
WELLMARK, INC d/b/a WELLMARK BLUE
CROSS AND BLUE SHIELD OF IOWA, an
Iowa corporation, and WELLMARK HEALTH
PLAN OF IOWA, INC., an Iowa corporation,
      Defendants.



  Plaintiffs’ Resistance to Applicant Intervenor Blue Cross
     and Blue Shield Association’s Motion to Intervene


      Plaintiffs hereby resist the Applicant Intervenor Blue Cross and Blue Shield Asso-

ciation’s (“BCBSA”) Motion to Intervene for the following grounds and reasons.



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                                                                            EXHIBIT 9
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       1.     This Court has no authority to decide BCBSA’s Motion to Intervene be-

cause it lacks subject matter jurisdiction over this matter under 28 U.S.C. § 1332(a) or

(d). BCBSA’s Motion to Intervene was pending in the Iowa District Court for Polk

County when Defendants Wellmark, Inc. d/b/a Wellmark Blue Cross and Blue Shield of

Iowa, and Wellmark Health Plan of Iowa, Inc. (“Wellmark”) prematurely filed their No-

tice of Removal on June 14, 2017. See generally Plaintiffs’ Motion to Remand [Doc. 7].

BCBSA’s intervention request is under Iowa law and should be decided by the Polk

County court following remand.

       2.     Regardless, BCBSA should not be granted intervention as a matter of right

or permissive intervention under Iowa R. Civ. P. 1.407(1) or (2).

       3.     Plaintiffs’ First Amendment to Petition at Law, filed prior to Wellmark’s

Notice of Removal, is the operative petition in this matter under Iowa R. Civ. P.

1.402(4). [Ex. LL to Loc. R. 81.A filing]. BCBSA has never been named as a defendant,

and the First Amendment takes all allegations of BCBSA horizontal territorial allocation

out of the case. It does not support BCBSA’s intervention request.

       4.     Plaintiffs in this case are not attacking the validity of BCBSA’s trademarks,

underlying licensing system or the BlueCard Program. There is no need for BCBSA to in-

tervene in this action to protect its interest in the same. Rather, Plaintiffs’ allegations

center on discriminatory treatment of Iowa chiropractors through price fixing and cov-

erage limitations in Iowa by Iowa actors—the Wellmark Iowa defendants.

       5.     BCBSA’s intervention request is motivated by a desire to create diversity

jurisdiction where none exists in order to pigeonhole this case into MDL No. 2406 in the

Northern District of Alabama where it will languish for years because it does not fit into
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the mainstream master complaints on file. Indeed, the Iowa Supreme Court already

ruled that there are “considerable differences” between this action and MDL No. 2406

when it reversed the stay Wellmark obtained from the trial court based in large part on

alleged commonality of facts and issues. Chicoine v. Wellmark, Inc., 894 N.W.2d 454,

456 (Iowa 2017). The Iowa Supreme Court noted that MDL No. 2406 “is still in bell-

weather pretrial proceedings” and “could take years.” Id. BCBSA should not be allowed

to intervene in order to aid Wellmark in circumventing this Iowa Supreme Court ruling

by routing the case to MDL No. 2406 anyway. Doing so would absolutely prejudice

Plaintiffs’ rights and cause undue delay.

       6.     This resistance is supported by the accompanying brief in support.

       Dated June 28, 2017.
                                            /s/ Glenn L. Norris
                                            Glenn L. Norris AT0005907
                                            HAWKINS & NORRIS, P.C.
                                            2501 Grand Avenue, Suite C
                                            Des Moines, Iowa 50312-5399
                                            Telephone: 515-288-6532
                                            Facsimile: 515-281-1474
                                            Email: gnorris@2501grand.com
                                                   gnorrislaw@gmail.com

                                            /s/ Kara M. Simons
                                            Steven P. Wandro AT0008177
                                            Kara M. Simons AT0009876
                                            WANDRO & ASSOCIATES, P.C.
                                            2501 Grand Avenue, Suite B
                                            Des Moines, Iowa 50312
                                            Telephone: 515-281-1475
                                            Facsimile: 515-281-1474
                                            Email: swandro@2501grand.com
                                                  ksimons@2501grand.com


                                            ATTORNEYS FOR PLAINTIFFS

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                                        CERTIFICATE OF SERVICE
I hereby certify I or someone acting on my behalf, on June 28, 2017, presented the foregoing document to
the Clerk of the Court for filing and uploading into the ECF system, which will send notification to the fol-
lowing ECF system participants.
Benjamin P. Roach
Hayward L. Draper
NYEMASTER GOODE, P.C.
700 Walnut Street, Suite 1600
Des Moines, IA 50309
Telephone: (515) 283-3100
Facsimile: (515) 283-8045
E-mail: bproach@nyemaster.com
E-mail: hdraper@nyemaster.com
ATTORNEYS FOR WELLMARK

Jeffrey A. Krausman
Joan M. Fletcher
DICKINSON, MACKAMAN, TYLER
& HAGEN, P.C.
699 Walnut Street, Suite 1600
Des Moines, IA 50309
Telephone: (515) 246-4525
Facsimile: (515) 246-4550
Email: jkrausman@dickinsonlaw.com
Email: jfletcher@dickinsonlaw.com
ATTORNEYS FOR BCBSA


                                                  __/s/ Kara M. Simons___________




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